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                              EXHIBIT 213
To:           Storrer, Scott[Scott.Storrer@cardinalhealth.com]; DeGemmis, Thomas[Thomas.DeGemmis@cardinalhealth.com]
Cc:                Case:
              Wykoff,      1:17-md-02804-DAP Doc #: 1964-1 Filed: 07/23/19 2 of 3. PageID #: 163370
                       Louanna[Louanna.Wykoff@cardinalhealth.com]
From:         Lawrence, Steve[/O=CAH/OU=CARDINAL HEALTH/CN=RECIPIENTS/CN=STEVE.LAWRENCE]
Sent:         Mon 1/7/2008 12:47:56 PM (UTC)
Subject:      RE: Diversion Steering Committee Follow-Ups

Scott,

Tom and I have been living this for quite a while now. We have communicated with the field on the communication of any order being
blocked in the current Phase I IT solution. Regulatory is faxing the store a questionnaire, which I am getting copied on. I am then
forwarding that to the sales team. The customer has 5 business days to return it and then regulatory will make a decision on upping the
customers threshold and doing a site visit.

I have not been involved in the reporting of suspicious customers so Tom, maybe you can fill in the blanks on this one.

The main problem we have right now is that we have around 90 stores that have been "shut off" from ordering any controlled
substances from Cardinal. 60 of those, or two thirds are not currently scheduled to have a sight visit and I have not been told what the
status is on these. Many of these were cut off around December 10th, which is now close to a month. This is what I have been telling
everyone for quite some time now. I spent 3 hours with Hartman and the regulatory group on Friday and they are trying, they just don't
have the resources and they are trying to keep too much information from others. I hope this will open up some soon.

Steve

    _____

From: Storrer, Scott
Sent: Sunday, January 06, 2008 9:24 PM
To: DeGemmis, Thomas; Lawrence, Steve
Cc: Wykoff, Louanna
Subject: FW: Diversion Steering Committee Follow-Ups



Tom and Steve I need to report back to the group on Wednesday re: the below. Could you both provide me with an update that I can
take into that meeting. Thanks - Scott



    _____

From: Henderson, Jeff
Sent: Sunday, January 06, 2008 4:50 PM
To: Storrer, Scott
Cc: Hartman, Mark
Subject: Diversion Steering Committee Follow-Ups



Scott, hope your holiday went well.



Just wanted to make you aware of a couple of specific follow-ups coming out of our Diversion Steering Commiittee meeting last week:



*     Wanted to ensure that there is some communication to the field (particularly the RI group) regarding appropriate
communication on order blocking to occur with Phase I IT solution. Have you spoke with Tom G and Steve L about this?
*     There are a number of key follow-ups related to the field sales groups:

*           Reporting of suspicious customers (e.g., an amnesty program)
*           How do we remove incentives to reporting suspicious customers
*           Who are suspicious customers reported to?
*           How do we ensure sales rep incentives arent harmed by reporting customers?
Our next Diversion SC is scheduled for Wednesday, January 9th from 5-7pm. As part of that, we are doing deeper dives on a few
topics. I suspect Case:  1:17-md-02804-DAP
                    both of                           Doc #:
                            those above will be included.     1964-1
                                                           Please        Filed:
                                                                   link up       07/23/19
                                                                           with Mark       3 regarding
                                                                                     Hartman  of 3. PageID
                                                                                                       details.#:I 163371
                                                                                                                   am in Monday morning
if youd like to chat about these (then Im off to an investor conference on the West Coast thru Tuesday night).



Jeff



Jeffrey W. Henderson

Chief Financial Officer

Interim CEO, Healthcare Supply Chain Services

CardinalHealth
